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                     UNITED STATES DISTRICT COURT FOR
                        THE DISTRICT OF NEW JERSEY


 JAVIER TORRES,                      HON.
                                     Civil Action No.
      Plaintiff,
                                     COMPLAINT AND JURY DEMAND
              vs.

 INVESTORS BANK BANK/ aka
 INVESTORS SAVINGS BANK; JOHN
 DOES I-X,

      Defendants.




     Javier Torres, of full age, hereby Complains of Defendant

as follows:

                          JURISDICTION AND VENUE

1.   Jurisdiction is appropriately laid in the United States

     District Court, District of New Jersey pursuant to 28 USC

     1331 as the claim in question is based upon a federal

     statute and Federal Question Jurisdiction.

2.   Venue is appropriately laid in the District Court of New

     Jersey pursuant to 28 USC1391(b)(2) as the events giving

     rise to the claim occurred substantially within the State

     of New Jersey.

                                  PARTIES

3.   Plaintiff Javier Torres (“Plaintiff”) owns and resides at

     the   real     property   located   at   50   Werimus   Road Woodcliff
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        Lake, NJ 07677.

4.      Investors Bank a/k/a Investors Savings Bank, alleges to be

        the owner of the mortgage loan in question.                Defendant

        maintains   its   principal   place   of   business   at    101   JFK

        Parkway Short Hills, NJ 07078.

                                 COUNT I


     Violation of the Truth in Lending Act 15 U.S.C. 1602 et seq.


5.      Plaintiff Javier Torres is the owner and resident of real

        property located at 50 Werimus Road, Woodcliff Lake, NJ

        07677.

6.      On October 28, 2005 Plaintiff executed a promissory note

        payable to the order of ABN Amro Mortgage Group, Inc.

7.      The promissory note is secured by a mortgage also executed

        to ABN Amro Mortgage Group, Inc.

8.      After the loan closed, ABN Amro Mortgage Group, Inc. sold

        the promissory note and mortgage.

9.      Due to unexpected economic circumstances, Plaintiff

        defaulted on the loan obligation on or about February 1,

        2010.

10.     Eventually the loan consisting of the promissory note and

        mortgage were sold to Investors Savings Bank.

11.     On November 8, 2010 CitiMortgage, Inc. filed a foreclosure

        debt collection action under New Jersey docket F-054827-10.
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12.   The 2010 foreclosure was dismissed on December 15, 2011 by

      stipulation entered into between Citimortgage, Inc. and

      Plaintiff Torres.

13.   Plaintiff does not know the exact date the loan was sold to

      its current owner Investors Bank, however it is believed

      that the sale took place after conclusion of the 2010

      foreclosure action.

14.   CitiMortgage, Inc. remains the loan servicing company.

15.   On November 20, 2014 CitiMortgage, Inc. executed an

      assignment of mortgage allegedly transferring ownership of

      the promissory note and mortgage to Investors Bank.           A copy

      of the assignment which was recorded in Bergen County on

      December 4, 2014 is attached hereto as Exhibit A.

16.   The assignment of mortgage states “The transfer of the

      mortgage and accompanying rights was effective at the time

      the loan was sold and consideration passed to the Assignee.

      This assignment is solely intended to describe the

      instrument sold in a manner sufficient to put third parties

      on public notice of what has been sold.”

17.   At no time prior to or after the November 2014 Assignment

      of Mortgage was executed did Investors Bank send any

      written correspondence to Plaintiff disclosing that it

      acquired the loan that is the subject of this litigation.
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18.   On January 13, 2015 Investors Bank filed a debt collection

      foreclosure complaint under New Jersey docket F-01463-15

      which was served upon Plaintiff in early February 2015.

19.   Pursuant to 15 U.S.C. 1641(g) “not later than 30 days after

      the date on which a mortgage loan is sold or otherwise

      transferred or assigned to a third party, the creditor that

      is the new owner or assignee of the debt shall notify the

      borrower in writing of such transfer, including--

        a. (A) the identity, address, telephone number of the new

           creditor;

        b. (B) the date of transfer;

        c. (C) how to reach an agent or party having authority to

           act on behalf of the new creditor;

        d. (D)    the    location       of   the   place    where     transfer   of

           ownership of the debt is recorded; and

        e. (E) any other relevant information regarding the new

           creditor.”

20.   Investors Bank did not send Plaintiff a written disclosure

      containing the information required by 15 U.S.C. 1641(g).

21.   Within     30    days   execution      of    the     November    20th,   2014

      assignment of mortgage, Investors Bank was obligated under

      federal    law    to issue    a    written    disclosure      to Plaintiff

      identifying its status as “assignee.”
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22.   Within 30 days of the actual sale and/or transfer Investors

      Bank was obligated to disclose the sale and/or transfer to

      Plaintiff in writing and failed to do so.

23.   As a result of the actions of Investors Bank, Plaintiff is

      entitled to all relief under 15 U.S.C. 1640(a) including

      but   not   limited   to   statutory   damages,    actual   damages,

      attorney fees and costs of suit.



      WHEREFORE, Plaintiff demands:

a.    Compensatory Damages

b.    Statutory Damages

c.    Attorneys fees and costs

d.    All other relief this Court determines to be just and fair.


                            JURY TRIAL DEMAND

      Plaintiff hereby demands a trial by jury.

                                              DENBEAUX & DENBEAUX
                                              Attorneys for Plaintiffs


Dated:      March 4, 2015               /s/ Adam Deutsch
                                             Adam Deutsch, Esq.
                                             DENBEAUX & DENBEAUX
                                             Attorneys for Plaintiff
                                             Javier Torres
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